       Case 18-31635      Doc 358     Filed 08/24/21 Entered 08/24/21 23:20:39       Desc Main
                                       Document     Page 1 of 4

                       IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

      IN RE:                                           )
                                                       )
      V.R. KING CONSTRUCTION, LLC                      )
                          DEBTOR                       )      Chapter 7
                                                       )      Case NO.: 18- 31635
                                                       )
                                                       )
      In re:                                           )
                                                       )      Chapter 7
      VINROY REID                                      )      Case No.: 18-31436
                                                       )
                                  DEBTOR.              )




                      AMENDED DESIGNATION OF RECORD ON APPEAL

      NOW COMES, Debtors-Appellants, VR King Construction, LLC & Vinroy Reid (hereinafter
      "Appellants” or “Debtors") and shows unto this Court its Designation of The Record on Appeal
      and states as follows:

                The Record includes the following:



Bankruptcy Court      Claim           Date                            Description
 Docket Number       Number         Entered /
                                     Filed

       1                            9.21.2018Voluntary Petition Under Chapter 13 /
                                             Bankruptcy number: 18-31436
       1                          10.31.2018 Voluntary Petition Under Chapter 11 /
                                              Bankruptcy number 18-31635
                         2         2.19.2019 Appellee Y2 Yoga Cotswold, LLC Proof of Claim for
                                             $574,963.90 (Claims registered 2-1)
                        2-2        2.20.2019 Appellee Y2 Yoga Cotswold, LLC Proof of Claim for
                                             $574,963.90 (Claims registered 2-2)
       62                          3.15.2019 Appellee Objection to Claim Number: 2 with Notice of
                                             Hearing
                         2                   Appellee Y2 Yoga Cotswold, LLC Proof of Claim for
                                             $981,139.00 (Claims registered 2)
      254                           7.8.2019 Objection to Claim Number: 2,3 with Notice of Opportunity
                                             for Hearing. If a response or objection is filed
Case 18-31635      Doc 358     Filed 08/24/21 Entered 08/24/21 23:20:39           Desc Main
                                Document     Page 2 of 4

255                          7.8.2019      Amended Objection to Claim Number: 2,3 with Notice of
                                           Opportunity for Hearing. If a response or objection is filed
                   2         7.16.2020     Appellee Y2 Yoga Cotswold, LLC Proof of Claim for
                                           $1,218,901.00 (Claims registered 2-4)
257                          7.20.2020     Objection to Claim Number: 2 with Notice of Hearing filed
                                           by Robert Lewis Jr on behalf of VR King Construction, LLC.
258                          7.20.2020     Amended Objection to Claim Number: 2 with Notice of
                                           Hearing filed by Robert Lewis Jr on behalf of VR King
                                           Construction, LLC.
260                          7.20.2020     Objection to Claim Number: 2 with Notice of Hearing filed
                                           by A. Burton Shuford on behalf of A. Burton Shuford.
265                          7.24.2020     Motion To Strike. filed by Robert Lewis Jr on behalf of VR
                                           King Construction, LLC,
                             2.2.2021      Disposition of Hearing Held before the Honorable Laura T.
                                           Beyer: DENIED
                             2.3.2021      Disposition of Hearing before the Honorable Laura T. Beyer:
                                           CONTINUED FOR RULING-VIA ZOOM
316                           2.3.2021     Exhibit List for Hearing Held 2/3/21
                             2.16.2021     Disposition of Hearing Held before the Honorable Laura T.
                                           Beyer: OVERRULED
330                           7.7.2021     Order Overruling Objections to Claims
333                          7.21.2021     Notice of Appeal to District Court.
337                          7.30.2021     Request For Transcript for hearing on DATE: 2/2/2021 by
                                           Randel Raison.
338                          7.30.2021     Request For Transcript for hearing on DATE: 2/3/2021 by
                                           Randel Raison.
339                          7.30.2021     Request For Transcript for hearing on DATE: 2/16/2021 by
                                           Randel Raison.



      This the 24th day of August, 2021,

                                                   THE LEWIS LAW FIRM, PA.

                                                   /s/Robert Lewis, Jr.
                                                   ROBERT LEWIS, JR.
                                                   Attorney for Debtor
                                                   NC Bar # 35806
                                                   PO BOX 1446
                                                   Raleigh, NC 27602
                                                   Telephone: 919-719-3906
                                                   Facsimile: 919-5739161
                                                   rlewis@thelewislawfirm.com
 Case 18-31635       Doc 358      Filed 08/24/21 Entered 08/24/21 23:20:39           Desc Main
                                   Document     Page 3 of 4




                  IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

IN RE:                                               )
                                                     )
V.R. KING CONSTRUCTION, LLC                          )
                    DEBTOR                           )      Chapter 7
                                                     )      Case NO.: 18- 31635
                                                     )
                                                     )
In re:                                               )
                                                     )      Chapter 7
VINROY REID                                          )      Case No. 18-31436
                                                     )
                              DEBTOR.                )



                                CERTIFICATE OF SERVICE

          I hereby certify that I this day have served a copy of former Counsel for the Debtor's
                     AMENDED DESIGNATION OF RECORD ON APPEAL

       To all the other parties listed below electronically via CM/ECF, e-mail or by depositing a
copy thereof in an envelope bearing sufficient postage in the United States mail, as indicated
below, this 24th day of August, 2021.

   Shelley K. Abel
   Bankruptcy Administrator (via ECF)
   402 West Trade Street
   Suite 200
   Charlotte, NC 27601
   Tel: 704-3507590
   Fax: 704-344-6666

   James H. Henderson (via ECF)
   1120 Greenwood Cliff
   Charlotte NC 28202-2826
   Tel: 704-333-3444
   Fax: 704-333-5003

   A.Burton Shuford (via ECF)
   4700 Lebanon Road, Suite A-2
   Mint Hill, NC 28227
Case 18-31635      Doc 358     Filed 08/24/21 Entered 08/24/21 23:20:39    Desc Main
                                Document     Page 4 of 4

 Tel: (980) 321-7005
 Fax: (704) 943-1152

 Vinroy W. Reid (via U.S. Mail)
 P.O. Box 5035
 Charlotte, North Carolina 28229


    This the 24th day of August 2021,

                                              THE LEWIS LAW FIRM, PA.

                                              /s/Robert Lewis, Jr.
                                              ROBERT LEWIS, JR.
                                              Attorney for Debtor
                                              NC Bar # 35806
                                              PO BOX 1446
                                              Raleigh, NC 27602
                                              Telephone: 919-719-3906
                                              Facsimile: 919-5739161
                                              rlewis@thelewislawfirm.com
